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Stephen W. Rupp, Trustee (2824)
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           IN THE UNITED STATES BANKRUPTCY COURT FOR THE
                   DISTRICT OF UTAH, CENTRAL DIVISION
___________________________________________________________________________

In re:                              : Bankruptcy No. 21-24823
                                               (Chapter 7)
BIANCA KAYLENE RUIZ,                :
                                       Honorable William T. Thurman
            Debtor.                 :
___________________________________________________________________________

        CHAPTER 7 TRUSTEE’S RESPONSE TO DEBTOR’S MOTIONS FOR
                         JUDICIAL NOTICE #1 AND #2
___________________________________________________________________________

         The Trustee in the above-captioned case, Stephen W. Rupp, hereby responds to the

debtor’s Motion For Judicial Notice.

         In prosecution of various motions and responses or replies or responses to motions, the

debtor has submitted to the Court two pending motions for judicial notice. The most recent

Motion for Judicial Notice #2 is dated December 22, 2022 (Docket Item 123) and appears to go

to the most recent pending matters before the Court, the Trustee’s motion for a turnover order

and the Trustee’s motion for approval of settlement with Jacob Ruiz, the debtor’s non-debtor

husband. In order to facilitate the consideration of the Trustee’s motions and the debtor’s

responses and objections, the Trustee provides as follows:
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       1.     The Motion For Judicial Notice #1 is moot. The debtor’s objections to the two

claims of Jacob Ruiz were sustained by default.

       2.     Instead of the Court having to determine whether judicial notice of the various

exhibits attached to the debtor’s Motion For Judicial Notice is appropriate, the Trustee hereby

stipulates that the exhibits submitted by the debtor and attached to the Motions For Judicial

Notice be received by the Court.

       3.     The debtor has attached as Exhibit 13 a portion of the email chain between the

Trustee and the debtor from December 1, 2022 to December 9, 2022. The debtor asserts that this

email chain is evidence that the “Trustee continues to misrepresent the law.” Since the debtor

wishes to have the Court consider the email chains and the exchanges between the Trustee and

the debtor concerning the various issues in this case, the Trustee attaches to this Response the

full email chain by and between the debtor and the Trustee from December 1, 2022 to the

present.

       4.     The Trustee hopes hereby to avoid the necessity of considering the debtor’s

Motions For Judicial Notice and assist the parties and the Court to focus on the pending issues

raised by the Trustee’s Motion For Turnover Order and Motion For Approval of Settlement.




                                                  2
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       DATED this 6th day of January, 2023.

                                      McKAY, BURTON & THURMAN

                                      By         /s/ Stephen W. Rupp
                                        Stephen W. Rupp
                                        Attorneys for Chapter 7 Trustee

  CERTIFICATE OF SERVICE - BY NOTICE OF ELECTRONIC FILING (CM/ECF)

        I hereby certify that on January 6, 2023, I electronically filed the foregoing Chapter 7
Trustee’s Response to Debtor’s Motion For Judicial Notice #2 with the United States
Bankruptcy Court for the District of Utah by using the CM/ECF system. I further certify that the
parties of record in this case, as identified below, are registered CM/ECF users and will be
served through the CM/ECF system.
       United States Trustee USTPRegion19.SK.ECF@usdoj.gov
        I hereby certify that on January 6, 2023, I caused to be served a true and correct copy of
the foregoing Chapter 7 Trustee’s Response to Debtor’s Motion For Judicial Notice #2 as
follows:
Mail Service - By regular first class United States Mail, postage fully pre-paid, addressed
to:

Bianca Kaylene Ruiz
1353 West Bison Drive
Riverton, UT 84065

                                                     /s/   Karin Powell




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                                EXHIBIT "A"
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